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           Brian Cronin, Contributor
           Writer and founder of legendsrevealed.com


     The REAL Secret Origin of Scream’s Ghostface
     Mask?
     08/31/2016 07:06 am ET

     A while back, I told the amazing story of how the famous “Ghostface” mask was discovered for the movie
     Scream.




                                DIMENSION FILMS




     Among the people who read that initial article was a man named Loren Gitthens, who had a fascinating
     story to tell about the Ghostface mask that I ﬁgured it would be worth running as an addendum to that
     original piece. Here’s Loren:




         My name is Loren Gitthens. Back in the late ‘80s/early ‘90s, I was living in Los Angeles, working in the Special Makeup
         Effects industry. As was the case in the small community of Makeup Effects Artists, someone would host a Halloween
         Party each year. And, as I’m sure you can imagine, the costumes were pretty creative.



         For the Halloween party of 1990, my idea was to do a take on the classic kid’s costume of using a bed sheet with eye
         holes to make a ghost. I wanted to expand on the idea by forming a ghostly face from buckram (a fabric that is dipped
         in water, shaped, and dries stiff). Then I integrated it with a bed sheet. The costumes went over well and were seen by
         many of the Makeup Effects Artists in the industry at that time.




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                                PHOTO COURTESY OF LOREN GITTHENS




         The face design was inspired loosely by a mask I made in 1985 that I had called “Screamer Long
         Jaw.”




                                PHOTO COURTESY OF LOREN GITTHENS




         A few months after the Halloween party, I was working with Tony Gardner at his Alterian Studios.      Tony wanted to start a
         mask company with me and another artist, Chet Zar. We called the company “The Ghost Factory.”

         While we were coming up with mask design ideas, I suggested we make a line of masks from my bed sheet ghost idea.

          We put together a kit that included a rigid, vacuform ghost face, glue and paints.

          We called it “Ghost Maker.”      The idea was that you would use your own bed sheet, then attach it and blend in the ghost
         face.




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                                PHOTO COURTESY OF LOREN GITTHENS




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         Incidentally, we also used the face design in the Ghost Factory logo.




                                PHOTO COURTESY OF LOREN GITTHENS




         We put together packaging with artwork created by my childhood friend, and now well-known and respected Production
         Designer, Bill Boes.

         Soon after, we took our Ghost Maker kits and the other masks we had made to a big Halloween Products Tradeshow in
         Chicago, where all of the costume and novelty companies, big and small, would try to get orders from retailers. We were
         a new, small, unknown company, so unfortunately we didn’t sell too many.

         However, one of the companies at the tradeshow that was obviously interested in our masks was Fun World.




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                                PHOTO COURTESY OF LOREN GITTHENS




         About a year later, tiring of trying to sell masks and work in the Makeup Effects business, I gave it all up and moved
         to Santa Cruz, CA to start a new life with my wife there.

         A year or two after moving to Santa Cruz, as the Halloween season was getting into full swing, I was in a drugstore and
         saw the Fun World’s cheap, mass-produced, knock-off version of my Ghost Maker face. But instead of being sold as a kit,
         it was a rigid face already attached to a small, head-sized sheet. Clearly, it appeared to be a direct rendering of my
         original creation.



         I was a bit amused, but didn’t pursue looking into it any further as I had left that part of my life behind and was on
         to a new one. I don’t think the Fun World version sold all that well either. But then it was picked up by the makers
         of the Scream films. And, well, you know that story.

         I don’t at all fault the makers of Scream; for all they knew, it was a mask designed and owned by Fun World. But what
         bothers me is that someone else is taking credit for my original design. I have been carrying this story with me for
         more than 20 years. Seeing your article compelled me to finally document the events as they actually happened. And now
         I’m sharing it with you.



     Thanks for the story, Loren!

     I don’t think that this is ever going to be something that I can classify as “True” or “False,” but I thought it
     was still worth sharing. So I leave it to you folks to decide what you think about this one.

     Be sure to check out my archive of Movie Legends Revealed for more urban legends about the world of
     ﬁlms.


     Feel free (heck, I implore you!) to write in with your suggestions for future installments! My e-mail address
     is bcronin@legendsrevealed.com.



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              Brian Cronin, Contributor
              Writer and founder of legendsrevealed.com


    What Is the Spooky Real Life
    Origin of Scream’s Ghostface
    Mask?
    06/30/2015 10:51 am ET | Updated Dec 06, 2017

    It appears that with the creation of any sort of iconic ﬁlm, there is always a
    little bit of serendipity mixed into the process. In an old Movie Legends
    Revealed, I discussed the various factors (including, improbably enough,
    the 1970s soft rock hit song, “Dream Weaver”) that went into Wes Craven
    coming up with the idea for Nightmare on Elm Street.

    Over a decade later, Craven was once again inspired from an unlikely
    place for the iconic “Ghostface” mask that terrorized victims in the hit
    1996 ﬁlm Scream.


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    Reader Guillermo M. asked me if it was true that the mask was discovered
    by Craven by accident in an abandoned house during the location
    scouting for the ﬁrst Scream ﬁlm. Did this iconic piece of horror ﬁlm
    history really have such a spooky origin?




    The answer is yes!

    When Wes Craven took on the project that became Scream (it was
    originally dubbed Scary Movie), screenwriter Kevin Williamson gave no
    direction for the look of the villain of the ﬁlm besides “ghost mask killer.”
    So it was up to Craven and his production team to come up with a visual
    look for the ﬁlm’s killer. In an twist of fate, one of the producers on the
    ﬁlm, Marianne Maddalena, was doing location scouting for the ﬁlm when
    she came across an abandoned house in Santa Rosa, California that had
    been used previously in the 1943 Alfred Hitchcock ﬁlm, Shadow of a
    Doubt. Maddalena ended up not using that house but instead chose a
    neighboring house for the home of Tatum and Dewey Riley (Rose


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    McGowan and David Arquette) in Scream. However, while at the ﬁrst
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    house, she discovered a striking mask hanging from a post.

    She brought the mask to Craven (Craven accidentally once stated that it
    was he who discovered the mask, but he has since concurred with
    Maddalena that it was she who found the mask) and he loved it. There
    was only one teensy little problem. The mask was the intellectual
    property of the Halloween mask company Fun World. It was designed by
    Brigitte Sleiertin as part of a “Fantastic Faces” series of masks. It came out
    somewhere around 1992. Originally the mask was called “The Peanut-
    Eyed Ghost.” So now Craven was in a bind - he had a mask he absolutely
    loved, but in order for the ﬁlm to be able to use the mask, his studio,
    Dimension Films, would have to license the mask from Fun World. Fun
    World, naturally, had quite a bit of leverage in the negotiations and they
    drove a hard bargain.

    The bargain was initially too hard for Dimension Films and they told
    Craven he would have to make due with a diﬀerent mask. Instead, Craven
    had Greg Nicotero and Howard Berger of design company KNB Eﬀects
    came up with their own version of the famous mask, altered enough to
    make it unique and not a violation of Fun World’s intellectual property.
    This mask was actually used in the ﬁrst few scenes in the ﬁlm, including
    the famous opening sequence with Drew Barrymore.




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    It is quite possible, though, that Dimension Films was just trying to prove
    to Fun World that they would be willing to do the ﬁlm without the mask to
    get them to come down on their asking price in the negotiations. After all,
    Dimension Films knew that Craven still wanted to use the Fun World mask
    in the ﬁlm. Fun World and Dimension Films ﬁnally came to a licensing
    agreement and Craven was able to use the original mask in the rest of
    the ﬁlm (it was at this point that Fun World came up with the new oﬃcial
    name for the mask - “Ghostface”).

    The ﬁlm was a massive success (spawning three sequels) and the mask
    has since become one of the most popular Halloween costumes ever,
    making Fun World quite a bit of money. A rare win-win for everyone
    involved!

    Interestingly enough, the upcoming Scream TV series debuting this week
    is going without the Ghostface mask (the show’s producers explained that
    it is because in the show the mask is tied to the origins of the killer
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    Says ‘Dark Knight’
                                                                      Something. He         Can See Why 
    Writer                                                             Just Did.             People Took Issue’




    Kendall Jenner                       Seth Rogen Says                                     Rhode Island Boy
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    instead of simply being, as they note, “a $1.99 costume the killer grabs
                                                                              in
    a costume shop and threw on just to be anonymous, or to scare people”,
    although I personally cannot help but think that the fact that they will not
    have to pay a licensing fee for this new mask must play some sort of role
    in the decision, as well), so It’s the end of a Scream era!

    The legend is...

    STATUS: True

    Thanks to Guillermo M. for the question! Be sure to read more ﬁlm
    legends like this at my archive of movie legends here. Feel free (heck, I
    implore you!) to write in with your suggestions for future installments! My
    e-mail address is bcronin@legendsrevealed.com.

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    Come In                                                    Health Care                         After Death
    Person Or                                                                                      Sentence
    Lose Your Job                                                                                  Vacated
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    Joker Was                                                         Saying Trump Will      In 2010 Film: ‘I
    ‘Controversial,’                                                  Never Do
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     MTV's Terrifying Mistake? Wes Craven
     Explains Why the Original 'Scream' Mask
     Is Too "Perfect" to Scrap
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      Wes Craven tells The Hollywood                                                                             ADVERTISEMENT


      Reporter why the "Ghostface"
      mask is so iconic and why he has
      little to do with MTV's reboot
      despite EP credit, Bob Weinstein
      teases MTV's plans for the killer's
      new look, and the mask's original
      designer shares what really
      inspired her first sketches back in
      1991.
      It's ineffably haunting. The warped expression. The drooping eyes. The contorted mouth, howling in silence.
      The Scream mask has become as iconic as the visages of horror staples like Michael Myers and Jason
      Voorhees, but MTV is taking the face of the franchise in an entirely new direction.

      Scream fans were in mourning this week after the network debuted the trailer for its upcoming reboot. The
      trailer, fans discovered, glaringly omits the most recognizable feature of the original films: the beloved
      Ghostface mask worn by all the killers. To their dismay, MTV has replaced it with a new mask, a blurry version
      of which the trailer glancingly reveals in a few short frames (see below).




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      In a conversation with The Hollywood Reporter, original Scream director Wes Craven says he let MTV use his
      name in association with the series, but his involvement beyond that was minimal. "I just put my name on it,"
      Craven explains, referencing his executive producer credit. "I was too busy to do much else."

      More specifically, Craven, 75, says he had no part in MTV's decision to scrap the Ghostface mask for the
      reboot series. As far as he's concerned, even minor changes to a proven formula can be devastating.

      "In general," Craven says, reflecting on his own experience with the Scream sequel and beyond, "we
      didn't mess with the mask at all. It's something we didn't try to change. With Freddy [Krueger] and the
      New Nightmare (below right), I felt that I probably should have stuck with the original face (below left).
      [With Scream,] we just let Ghostface be Ghostface."




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      "It would have been safer [not to change Freddy]," Craven explains. "I'm not going to speculate in public,
      probably shouldn't have even mentioned it, but you know, sometimes you realize that something's not
      broken, so don't fix it. And that was the course we took on all the Scream films: Don't mess with that, it's
      just perfect."


      For Craven, the success of the Scream franchise hinged upon the mask. No other mask would have
      done the trick. "No way. No way," Craven insists. "I knew it in my bones that [Ghostface] was a unique
      find, and I had to convince the studio that they had to go the extra mile to get it."


      Created by New York-based novelty company Fun World in 1991, the Ghostface mask was first
      conceived as a Halloween costume. It was mass-produced for years as part of a "Fantastic Faces" pack,
      but it wasn't until 1996, when the mask was licensed for use in Scream, that it became one of the world's
      most recognizable horror symbols.

      There's been endless speculation about why MTV made the decision to redesign the mask for the new series.
      The network has denied it was budget-related, stemming from Fun World's licensing fee, but THR has learned
      preliminary discussions about incorporating the mask in the series did occur.




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      "We have been in regular contact with [The Weinstein Co.] for years while the TV series was conceived," Fun
      World executive vp Alan Geller tells THR via email, but "no deal" is currently in place for the show. MTV had no
      comment.

      For its part, MTV has insisted the change was simply a creative decision to take the franchise in a "darker,"
      more modern direction. "If the Scream movie mask was the more plastic version," MTV senior vp Mina Lefevre
      told EW, "this one is a more organic-looking and, frankly, darker version." Still, neither Fun World nor MTV has
      ruled out the possibility of allowing Ghostface a cameo in the series, presumably once a favorable deal is
      struck.

      Aside from the mask, Roger Jackson, who voiced the original Scream killer, is another glaring absence from
      the reboot. "I can't picture it," he tells THR about the MTV show. "How can you have Scream without
      Ghostface? It's like Friday the 13th without Jason." Jackson says MTV hasn't approached him to voice the
      killer, or anyone.




      Bob Weinstein, an executive producer on the original Scream and now an executive producer on the MTV



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      project, agrees that the original mask was special, likening it to the masks in Halloween and The Phantom of
      the Opera, but is more optimistic about the changes made for the show, revealing one key difference between
      the old and new versions.




      "The [new] mask itself plays a story element, and that is different from Scream the movie," Weinstein says, "It
      ties in specifically to the story. The mask has an importance; it's not a mask for mask's sake."

      But it doesn't quite have the same history.

      "When this mask project was given to me," says Brigitte Sleiertin-Linden, the artist who developed the initial
      concept drawings for Fun World's Ghostface, "I was tasked with designing ghostly faces to be made as masks
      and to do some drawings with a similar look and feel. So I did a bunch of sketches of different white, ghostly

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      faces with simplistic black facial-feature shapes."

      "As an animation junkie," she continues, explaining her inspiration, "I loved the old Max Fleischer cartoons,
      and Betty Boop was one of my faves. Those faces were mostly inspired by the ghosts from some of those old
      1930s black-and-white cartoons."




      This flies in the face of the popular assumption that the famed Edvard Munch painting The Scream was
      the primary inspiration for the mask. "That whole inspired-by-Munch thing is a pat way to write off the
      design," Sleiertin-Linden says, "but it's not where my influence came from."

      "I just loved all vintage animation and that fluid, almost rubbery movement," she adds, citing jazz singer Cab
      Calloway as another major influence. (Interestingly, Alan Geller, Sleiertin-Linden's former boss, adamantly
      disputes that she created the mask. He insists the mask is his creation, and an upcoming documentary will
      reveal the true story behind its genesis. Geller wouldn't provide additional details.)




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      Following its inception in the early '90s, the Ghostface mask was in circulation as a Halloween costume for
      several years before Scream producer Marianne Maddalena stumbled upon it by accident in 1996 while
      scouting locations for the first film.




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      One location, Maddalena says, happened to be the Santa Rosa house made famous by Alfred Hitchcock's
      Shadow of a Doubt, which, at the time, was owned by an old widow. The woman lived there alone, and — in
      what sounds like the set-up for a horror movie in itself — Maddalena says she spied the mask draped over a
      chair in one of the vacant rooms.

      Maddalena immediately took it to Wes Craven and the rest is history.

      Can MTV rewrite it?




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   RUN THE SERIES


   The Scream movie series revitalized horror—then left no
   lasting mark on the genre
                            Vadim Rizov
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                    Scream (1996)


                                    With Run The Series, The A.V. Club examines film franchises, studying how they change and
                                    evolve with each new installment.




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                            The cultural noise Scream made at its moment of impact has faded; in large part, the
                            film’s left no lasting legacy. Its all-encompassing sarcasm revitalized horror, a genre
                            slumping toward direct-to-video doldrums after sucking the life out of Michael
                            Myers, Freddy Kruger, Jason Voorhees, etc., but it was a short reign. Screenwriter
                            Kevin Williamson had a brief run of success with inferior work in a similarly self-
                            aware vein (I Know What You Did Last Summer, The Faculty, Teaching Mrs. Tingle), but his
                            moment quickly passed, as he moved on to Dawson’s Creek and a wave of torture porn
                            (yes, that’s a contested term) picked up the slack. After that and the subsequent
                            reflowering of low-budget horror via Blumhouse Productions (The Conjuring et al.),
                            Scream seems like some kind of charming ’90s dinosaur, as emblematic of its time as
                            any Reality Bites or Slacker.


                            The first three Screams came out between 1996 and 2000; the series returned for one
                            last round in 2011. That 11-year-gap smoothed over (at least superficially) how
                            controversial the initial trilogy was at its time of release. Trouble started before
                            shooting: Wes Craven, who ended up directing all four entries, was going to shoot the
                            original at Santa Rosa High School, but the school board reneged on the deal, leery of
                            serving as the site (per Craven’s AP obit) for “profanity and teen slaughter.” Several
                            teenage murder cases were reported to be inspired by the films; the third installment,
                            released after the Columbine school shootings (and after months of op-eds
                            attempting to assign some measure of responsibility to The Matrix), is especially self-
                            reflexive about its quasi-reviled status. All four films experienced some degree of on-
                            set chaos, requiring daily rewrites and forcing Craven to figure out scenes on the fly.
                            It’s impossible to examine them without heavy spoilers; consider yourself warned
                            from this point.


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                            The idea behind Scream—a horror movie that sardonically anatomizes its own clichés
                            as it unfolds—wasn’t entirely new. Scream more or less picks up where 1994’s (totally
                            decent) Wes Craven’s New Nightmare—in which fictional character Freddy Krueger
                            terrorizes the “real” cast and crew—left off. More obscurely, cult director Rolfe
                            Kanefsky believes the film is derived from his cheapie 1991 labor of love There’s
                            Nothing Out There.



                        Scream - Trailer (1996) Neve Campbell, Courteney Cox, David Arquette




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                            But Scream was far more remunerative and ubiquitous than its predecessors, and for
                            good reason. The famed opening scene is internally timed by a plate of popcorn
                            popping on the stove: the time it takes to swell and smoke is about as long as the
                            sequence should logically last, forcing an escalation of intensity that can’t be delayed
                            too long. When masked killer Ghostface makes the ultimate obscene phone call to
                            Casey (Drew Barrymore), he effectively mocks her for being frightened by common
                            horror movie scares. The more she freaks out, the more he revels in her easily
                            manipulated discomfiture, creating a weirdly antagonistic tone toward the viewer: If
                            you get frightened by this, you’re stupid too. But the scene is exceptionally,
                            effectively charged and jokes are plentiful. Even before any discussion of “the rules”
                            of horror movies, the dialogue is already self-reflexive, with Casey screaming that
                            her boyfriend will be over and “he’s big and plays football.” This will be a movie of
                            simultaneously deployed and mocked teen-movie tropes.



                        SCREAM - Drew Barrymore Death Scene (HD)




                            The rest of Scream alternates between actual horror scenes and meta-discussions of
                            the tropes of the genre versus what’s happening to the characters. The ratio’s more
                            funny than scary, but Craven often synthesizes the two into one, deploying Marco
                            Beltrami’s ominous cymbal clangs and other traditional cues of big scares for nothing
                            more prepossessing than a shot of a yellow school bus. If literally everything is
                            punctuated and associated by horror, then the film’s entire narrative is one mean
                            joke.




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                            The series is anchored by Neve Campbell as the perpetually stalked Sidney Prescott,
                            rapacious journalist Gale Weathers (Courteney Cox) and sheriff Dewey Riley (David
                            Arquette). These three make up the unkillable trio at every film’s center; despite its
                            perception as a fundamentally meta, heartless series, the Scream franchise loves these
                            three far too much to kill them off. (That wasn’t part of the original plan—
                            Williamson was open to killing one off in the sequel—but it became part of the
                            overall design.) There’s an expendable cast of supporting ’90s players who’ve hung
                            around professionally but are no longer in the firmament of potential top stars;
                            Matthew Lillard as a moronically gaping proto-Stifler, and motormouthed video
                            store employee/rule-expounding geek Jamie Kennedy take top pride of place.
                            Periodization comes through in topical emphases on movie ratings (“Would you
                            settle for a PG-13 relationship?”) and, in Weathers’ hustling, hounding reporter, a
                            diatribe on the awful news media that isn’t that far off from, say, Mad City. The
                            dialogue isn’t sarcastic just in the meta-discussions of the rules of horror films; it
                            places entire characters in air quotes. When Sidney apologizes to her creepy boyfriend
                            with “I’m the one who’s been selfish and self-absorbed with post-traumatic grief,”
                            it’s like a parody of the level of constant apologizing that bone-headedly privileged
                            men expect from women who’ve done nothing wrong.


                            The enormous success of the first film sent the sequel scrambling into production,
                            disrupted by the then-novel phenomenon of script pages leaking to the internet
                            revealing the killer. In lines like “That is so Moral Majority” and “The ’90s are no
                            time to play hero,” Scream 2 doubles down on the self-conscious zeitgeist courting.
                            It’s the draggiest and most complacent of the series: A scene in which a classroom of
                            students discusses the rules of sequels has them cracking each other up, which no
                            longer keeps up the pretense of a potentially imminent threat. The first film’s killers


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                            were—in the Natural Born Killers and To Die For vein—obsessed with leveraging
                            murder for media fame (a satirical diagnosis that, then and now, seems to
                            unhelpfully overstate the case). In this film, the murderess is just taking revenge on
                            Sidney for her adulterous mom, whose sleeping-around destroyed the new killer’s
                            marriage—slut-shaming on an epic level, to be further flipped-around and
                            diagnosed in the third film.



                        Scream 2 (1997) - Movie Trailer




                            Scream 2 is most fondly remembered for two sequences. There’s another bravura
                            opening, in which a crowd of theatergoers gathers to cheer on Stab, a fictional movie-
                            within-a-movie that restages the first film’s opening (fellow Weinstein hire Robert
                            Rodriguez directs the sequence). Reluctant viewer Maureen (Jada Pinkett Smith) is
                            dragged by boyfriend Phil (Omar Epps). Her protests against seeing the movie are
                            weak and haven’t aged well: She claims to find the spectacle of stupid white people
                            getting offed of no fundamental interest, but is duly sucked in, chastising any non
                            true believers in the audience. Both characters get offed, and Craven cranks the
                            dramatic score and thunderclaps way up, indulging a theatrical sensibility that’s
                            amplified by Campbell’s onscreen participation in a similarly intense production of
                            Cassandra, where every prop and extra conceals a threat. The other big sequence is,
                            simply, Sidney crawling out of a car over Ghostface’s corpse: You know he’ll come
                            back to life, but the longer he doesn’t, the more unnerving the effect is.


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                            Written by Ehren Kruger instead of Williamson, Scream 3 is generally considered the
                            weakest, most-drained installment of the series. This is the work of exhausted people
                            contractually obligated to come back, resulting in a snarkiness that goes beyond
                            meta-riffing into outright cartoonishness. (Some of this is intentional; some of it is
                            just playing the studio game: Fellow Weinstein intellectual-property stablemates Jay

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                            and Silent Bob have an atrocious cameo.) Stab 3 is in production, and this time they’re
                            re-creating Sidney’s story rather than the stabbing of Drew Barrymore’s Casey, with
                            new doppelgängers for all the main players. Sidney wandering onto the set of her
                            literal life is a destabilizing moment of reality seeming like a lucid dream. Like Freddy
                            and Jason, Ghostface has now been Xeroxed to infinity: When the actress playing
                            Sidney flees the newest incarnation, she hides in a clothing rack full of his costumes,
                            fending him off with a flimsily flapping plastic prop knife.



                        Scream 3 | ‘Who Gets Killed Third?’ (HD) - David Arquette, Courtney Cox | MIRAMAX




                            Comedy finally takes the lead (not least thanks to Parker Posey as faux-Gale
                            Weathers; her goofy, frightened leap into a bodyguard’s arms is the kind of leavening
                            improv you couldn’t write in advance). The finale takes place in a Hollywood
                            mansion, with the original trio and their onscreen doubles running from the latest
                            Ghostface. The literal door-slamming nature of their repeated escapes verges into
                            farce, never more so than when a character slides down a stairwell as a piano
                            glissandos all the way down the keys: That’s the kind of underlining of a pratfall Carl
                            Stalling would have pulled in a Looney Tune. And this installment, made with the at-
                            the-time intent of closing the series once and for all, has a supremely unsatisfying
                            new villain: His motivations are sound enough, but the attempt to rewrite the master
                            plan for the last two films never come off as better than post hoc.


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                            Against all this, there’s the odd fact that Scream 3 is the rare Hollywood narrative
                            attempt to excoriate casting-couch culture and sexual abuse as a normalized part of
                            the entertainment industry. The movie’s way of doing this isn’t particularly subtle:
                            Stab 3’s director is named Roman (“Variety called me a pariah!”). It emerges that
                            before Sidney’s mother was Woodsboro’s scarlet woman, she was a bright
                            exploitation movie aspirant actress who had… something happen to her at a ’70s

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                            how she plans to revitalize her “tarnished brand.” (Response: “In about two seconds
                            I’m going to revitalize your face with my tarnished brand.”) It’s no surprise that the
                            new Ghostface is one of the Woodsboro high schoolers, but the big final speech
                            explaining the motivation is blunter than Network. “I don’t need friends, I need
                            fans!” the killer shouts—and keeps going on, and on, about how “you don’t have to
                            achieve anything” to get fame anymore. This isn’t dialogue so much as it is an old
                            man yelling at a cloud, but there’s something refreshing about the diagnostic
                            bluntness.


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                            Scream 4’s movie-within-a-movie-within-a-movie opener is possibly a series best,
                            and the big set pieces are effectively timed and deployed: This is much more an on-
                            task horror movie than its weary predecessor. Besides the elder-statesman
                            crankiness and an increase in explicit gore (including a ghastly shot of a corpse’s
                            entrails splayed out across a bed), the movie’s main innovation is to reflect old
                            media’s increasing concern about New Media competition: It’s no accident that one
                            of the killers is also obsessed with live-streaming his life in proto-Periscope fashion.
                            This is a movie that keeps up with technology because the people making it have been
                            forced to, observing without approving; it stands with the relatively elderly.


                            Room was left for a sequel—everyone’s contracts were signed for another trilogy—
                            but 4 underperformed, so 5 and 6 never emerged. MTV’s Scream series is its own
                            thing, with a new Ghostface mask and voice (blasphemy!). In the end, the Scream
                            series ended up celebrating only itself, not what it had wrought, but it’s an oddly
                            cuddly tetralogy of death. Among other things, the franchise chronicles the on-and-
                            off relationship between Dewey and Gale; off screen, the actors became a real couple,
                            married in 1999, separated in 2010, and divorced in 2013. Hints of their romantic
                            problems are built into the fourth film, and one way to look at the series is as the
                            oblique chronicle of a love affair from start to finish. Who would’ve expected that in
                            1996?


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                            Final ranking:
                            1. Scream
                            2. Scream 4
                            3. Scream 3
                            4. Scream 2



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                            party, kicking off the events that would lead to the first film. “It was the ’70s,”
                            protests producer John Milton (Lance Henriksen). “Everything was different.” This is
                            the exact language used by Polanski’s defenders who don’t know when to quit, and
                            Scream 3 isn’t being subtle with its accusations: A culture of sexual violence and silent
                            complicity is far more likely to lead to real-world damage than any slasher film.
                            Sidney’s mother isn’t exactly cleared of all charges—she’s still the town adulteress
                            who ruined everyone’s lives—but she’s been given a (granted, very reactionary)
                            origin story that locates original sin in Hollywood sexual abuse. None of this
                            necessarily makes Scream 3 a better film, but it’s unusually, bracingly, and
                            anomalously direct in its charges.


                            By the time Scream 3 came out, Craven knew the series—and its steady dismantling of
                            each individual part’s particular generic expectations—had probably hit the point of
                            inevitably diminishing returns. “It’s like the ultimate car chase in The Blues Brothers,”
                            he said. “After that, all car chases look like parodies. So there’ll probably be a move
                            away from irony—until horror establishes a new reality to be ironic about.” What
                            brought Scream 4 about was increased strip-mining of libraries by studios committed
                            to maxing out well-established brands. Long belated sequels—Scream 4 preceded
                            more successful, long-overdue entries like American Reunion and The Best Man Holiday
                            —inevitably play upon audiences’ sense of nostalgia for long-ago favorites and a
                            desire to check in one more time, to see how people are standing up to time’s
                            inevitable ravages. In such a context, even Reunion’s sight of Stifler shitting in a
                            cooler acquires a certain stoic survivor’s gravitas.



                        Scream 4- Stab 6 7 Opening- HD




                            Craven was 71 when the film was released, and this is very much a cranky old man’s
                            film. That’s not a judgment, just an observation: With time for a generational gap to
                            firmly emerge, Scream 4 pits its unkillable central trio against a younger group of kids
                            who are, yes, always on their smartphones, captivated by the internet, and obsessed
                            with fame at all costs. The language of media has changed, with Gale being asked

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                            I still think Craven's own brilliant, woefully underrated New Nightmare did a
                            smarter and scarier deconstruction of the slasher genre. That's a genuinely witty
                            take on the whole thing with a nice thematic weight.

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